      CASE 0:12-cr-00206-DWF-LIB         Doc. 172    Filed 01/02/13    Page 1 of 2




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                            Criminal No. 12-206(5) (DWF/LIB)

                    Plaintiff,

v.                                                      ORDER ADOPTING REPORT
                                                         AND RECOMMENDATION
Kevin John Needham, a/k/a “KJ,”

                    Defendant.


      The above matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge Leo I. Brisbois dated December 10, 2012. No

objections have been filed to that Report and Recommendation in the time period

permitted. The factual background for the above-entitled matter is clearly and precisely

set forth in the Report and Recommendation and is incorporated by reference. Based

upon the Report and Recommendation of the Magistrate Judge and upon all of the files,

records, and proceedings herein, the Court now makes and enters the following Order.

      IT IS HEREBY ORDERED that:

      1.     Magistrate Judge Leo I. Brisbois’s December 10, 2012 Report and

Recommendation (Doc. No. [165]) is ADOPTED.

      2.     Defendant’s Motion for Severance (Doc. No. [142]) is DENIED without

prejudice.

Dated: January 2, 2013            s/Donovan W. Frank
                                  DONOVAN W. FRANK
                                  United States District Judge
CASE 0:12-cr-00206-DWF-LIB   Doc. 172   Filed 01/02/13   Page 2 of 2
